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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 21-cv-02160-RMR

  ESTATE OF SERAFIN FINN, by and through its personal representative Melissa R. Schwartz,

         Plaintiff,

  v.

  CITY AND COUNTY OF DENVER, a municipality;
  DEPUTY JASON GENTEMPO, in his individual capacity;

        Defendants.
  ______________________________________________________________________________

                    NOTICE OF AMENDMENT OF COMPLAINT
  ______________________________________________________________________________

         Pursuant to Federal Rule of Civil Procedure 15(a)(2) and D.C.COLO.LCivR

  15.1(a), Plaintiff Estate of Serafin Finn files this Notice of Amendment of Complaint. Plaintiff

  has attached the Amended Complaint as Exhibit 1 and a redlined version of the Amended

  Complaint as Exhibit 2.



         Respectfully submitted this 13th day of December 2021.



                                               RATHOD | MOHAMEDBHAI, LLC

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                                    ATTORNEY FOR PLAINTIFF




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